
PER CURIAM.
Micky William McNulty challenges the trial court’s order summarily denying his motion filed pursuant to Florida Rule of Criminal Procedure 3.850. We affirm.
In his motion, McNulty alleged that his plea was involuntary because defense counsel affirmatively misadvised him regarding the future sentencing-enhancing effects of the plea in regard to an as yet uncommitted crime. In Stansel v. State, 825 So.2d 1007 (Fla. 2d DCA 2002), we held that this claim is not cognizable in a rule 3.850 motion. We certify the same question that we certified in Stansel We affirm, without discussion, any other issues raised by McNulty in his motion.
ALTENBERND, WHATLEY, and NORTHCUTT, JJ., concur.
